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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                    Case No. 1:06-cr-107-02
v.
                                                    HONORABLE PAUL L. MALONEY
PAUL JEFFERSON BRADDOCK

                  Defendant.
_________________________________/


                         MEMORANDUM OPINION AND ORDER

       Defendant Paul Jefferson Braddock has filed a motion for modification or reduction of

sentence pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity

Table with respect to drug quantity.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States

Sentencing Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to drug

quantity, and U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective

November 1, 2014. U.S.S.G. § 1B1.10(c).

       The United States Probation Office has determined the defendant is not eligible for a

reduction of sentence because he was sentenced to the mandatory minimum required by statute in

2008 before the enactment of the Fair Sentencing Act. The Court has reviewed the defendant's

response to the report of eligibility (ECF No. 141) and the attachment to the response (ECF
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No.142). The Court, however, has no authority to reduce a sentence below the mandatory

minimum unless an appropriate motion is filed by the Government. Accordingly, the amendment

is of no assistance to the defendant. Therefore,

       IT IS HEREBY ORDERED that Defendant Paul Jefferson Braddock's motion for

modification of sentence pursuant to 18 U.S.C. § 3582(c)(2) (ECF No. 124) is DENIED.




Date: December 16, 2014                       /s/ Paul L. Maloney
                                             Paul L. Maloney
                                             Chief United States District Judge
